Case 2:18-cv-06171-JFW-JEM Document 23 Filed 03/12/19 Page 1 of 6 Page ID #:128



 1 DOLL AMIR & ELEY LLP
   HUNTER R. ELEY (SBN 224321)
 2
   heley@dollamir.com
 3 CONNIE Y. TCHENG (SBN 228171)
   ctcheng@dollamir.com
 4
   1888 Century Park East, Suite 1850
 5 Los Angeles, California 90067
 6 Tel: 310.557.9100
   Fax: 310.557.9101
 7
   Attorneys for Defendants,
 8 CAPITAL ONE BANK (USA), N.A.
 9
10                       UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA

12
     CONSUELO HAGGAR,                         Case No. 2:18-cv-06171-JFW-JEMx
13                                            Assigned to District Court Judge John F.
14               Plaintiff,                   Walter

15   v.                                       REVISED STIPULATION TO
16                                            CONTINUE DEADLINE FOR
     CAPITAL ONE BANK (USA), N.A.,            MEDIATION COMPLETION DATE
17                                            AND JOINT STATUS REPORT
18               Defendant.                   DATE

19                                            Current Mediation Completion Date:
20                                            March 4, 2019

21                                            Proposed Mediation Completion Date:
22                                            May 10, 2019

23
24
25
26
27
28

      STIPULATION TO CONTINUE DEADLINE FOR MEDIATION COMPLETION DATE AND JOINT STATUS
                                        REPORT DATE
Case 2:18-cv-06171-JFW-JEM Document 23 Filed 03/12/19 Page 2 of 6 Page ID #:129



 1
 2 TO THE HONORABLE JUDGE:
 3         Pursuant to paragraph 7 of this Court’s Standing Order (EFF No. 8), Plaintiff
 4 Consuelo Haggar (“Plaintiff”) and Defendant Capital One Bank (USA), N.A (“Capital
 5 One”) through respective counsel, hereby stipulate as follows:
 6         WHEREAS, a Mediation Completion Date was set for March 4, 2019 and a
 7 Joint Report regarding the Mediation was due on March 8, 2019.
 8         WHEREAS, all other dates set by the Court in this case include the following:
 9             April 6, 2019: Deadline to designate and provide reports of affirmative
10               experts;
11             April 27, 2019: Deadline to designate and provide reports of rebuttal
12               experts;
13             June 1, 2019: Discovery cut off;
14             June 17, 2019: Last day for hearing motions;
15             July 1, 2019: Deadline to submit pre-trial conference order and to file
16               motions in limine, memorandum of contentions of fact and law, pre-trial
17               exhibit stipulations, summary of witness testimony and time estimates,
18               status report re: settlement, agreed-upon jury instructions and verdict
19               forms, and joint statement re: disputed instructions, verdicts, etc.
20             July 12, 2019: Pre-trial conference;
21             July 19, 2019: Hearing on motions in limine and disputed jury
22               instructions; and
23             July 23, 2019: Trial (estimated length of 2 days).
24         WHEREAS, the parties propose a new Mediation Completion Date of May 10,
25 2019, and a new Joint Report regarding the Mediation deadline for May 14, 2019.
26         WHEREAS, good cause exists for granting the requested extension of the
27 Mediation Completion Date and related Joint Report deadline. Capital One has been,
28 and remains, in the process of transitioning its national counsel for its Telephone
                                                1
       STIPULATION TO CONTINUE DEADLINE FOR MEDIATION COMPLETION DATE AND JOINT STATUS
                                         REPORT DATE
Case 2:18-cv-06171-JFW-JEM Document 23 Filed 03/12/19 Page 3 of 6 Page ID #:130



 1 Consumer Protection Act (“TCPA”) litigation across the country, including this
 2 lawsuit. Despite the change in counsel, the parties have been actively engaged in
 3 good faith settlement negotiations and believe that they will reach a resolution soon,
 4 without incurring the expense of private mediation.
 5         WHEREAS, the parties have conferred and agree to continue their ongoing
 6 settlement negotiations and, in the meantime, schedule a private mediation to occur on
 7 or before May 10, 2019 (i.e., before the close of discovery on Monday, June 3, 2019).
 8         WHEREAS, this is the revised request for the first extension of the Mediation
 9 Complete Date and related Joint Report deadlines. The Court denied the parties’
10 previous request for failure to comply with paragraph 7 of this Court’s Standing
11 Order.
12         WHEREFORE, the parties hereby stipulate that the Mediation Completion Date
13 shall be continued to May 10, 2019, and the date to file the Joint Report regarding the
14 Mediation shall be continued to May 14, 2019.
15
     DATED: March 12, 2019                     DOLL AMIR & ELEY LLP
16
                                               By:   /s/ Connie Y. Tcheng
17
                                                   CONNIE Y. TCHENG
18                                             Attorney for Defendant
19                                             CAPITAL ONE BANK (USA), N.A.

20   DATED: March 12, 2019                     LAW OFFICES OF JEFFREY
21                                             LOHMAN, P.C.

22                                             By:   /s/ Jeremy Branch
23                                                 Jeremy Branch
                                               Attorney for Plaintiff
24                                             CONSUELO HAGGAR
25
26
27
28
                                               2
      STIPULATION TO CONTINUE DEADLINE FOR MEDIATION COMPLETION DATE AND JOINT STATUS
                                        REPORT DATE
Case 2:18-cv-06171-JFW-JEM Document 23 Filed 03/12/19 Page 4 of 6 Page ID #:131



 1                           SIGNATURE CERTIFICATION
 2        Pursuant to Local Rule 5-4.3.4, I hereby certify that the content of this
 3 document is acceptable to Jeremy Branch, counsel for Plaintiff, and that I have
 4 obtained Mr. Branch’s authorization to affix his electronic signature to this document.
 5   DATED: March 12, 2019                     DOLL AMIR & ELEY LLP
 6
                                               By:   /s/ Connie Y. Tcheng
 7                                                 CONNIE Y. TCHENG
                                               Attorney for Defendant
 8
                                               CAPITAL ONE BANK (USA), N.A.
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               3
      STIPULATION TO CONTINUE DEADLINE FOR MEDIATION COMPLETION DATE AND JOINT STATUS
                                        REPORT DATE
                          Case 2:18-cv-06171-JFW-JEM Document 23 Filed 03/12/19 Page 5 of 6 Page ID #:132



                             1                                 PROOF OF SERVICE
                             2              STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                             3       I am employed in the County of Los Angeles, State of California. I am over
                               the age of 18 years and not a party to the within action. My business address is 1888
                             4 Century Park East, Suite 1850, Los Angeles, California 90067.
                             5        On March 12, 2019, I served the foregoing document described as REVISED
                               STIPULATION TO CONTINUE DEADLINE FOR MEDIATION
                             6 COMPLETION DATE AND JOINT STATUS REPORT DATE on the interested
                               parties in this action by placing the original and/or a true copy thereof enclosed in (a)
                             7 sealed envelope(s), addressed as follows:
                             8         SEE ATTACHED SERVICE LIST
                             9        BY REGULAR MAIL: I deposited such envelope in the mail at 1888
                                       Century Park East, Suite 1850, Los Angeles, California. The envelope was
                            10         mailed with postage thereon fully prepaid. I am “readily familiar” with the
                                       firm’s practice of collection and processing correspondence for mailing. It is
                            11         deposited with the U.S. Postal Service on that same day in the ordinary course
D OLL A MIR & E LEY LLP




                                       of business. I am aware that on motion of the party served, service is
                            12         presumed invalid if postal cancellation date or postage meter date is more than
                                       one (1) day after date of deposit for mailing in affidavit.
                            13
                                      BY FACSIMILE MACHINE: I transmitted a true copy of said document(s)
                            14         by facsimile machine, and no error was reported. Said fax transmission(s)
                                       were directed as indicated on the service list.
                            15
                                      BY OVERNIGHT DELIVERY: I caused such documents to be delivered
                            16         overnight via an overnight delivery service in lieu of delivery by mail to the
                                       addressees. The envelope or package was deposited with delivery fees thereon
                            17         fully prepaid.
                            18        BY ELECTRONIC MAIL: I transmitted a true copy of said document(s) via
                                       electronic mail, and no error was reported. Said email was directed as
                            19         indicated on the service list.
                            20        BY PERSONAL SERVICE: I caused such envelope(s) to be delivered by
                                       hand to the above addressee(s).
                            21
                                      BY CM/ECF: I electronically transmitted a true copy of said document(s) to
                            22         the Clerk’s Office using the CM/ECF System for filing and transmittal of a
                                       Notice of Electronic Filing to the aforementioned CM/ECF registrants.
                            23
                                     I declare that I am employed in the office of a member of the Bar of this Court,
                            24 at whose direction the service was made. I declare under penalty of perjury under the
                               laws of the State of California that the foregoing is true and correct.
                            25
                                     Executed on March 12, 2019, at Los Angeles, California.
                            26
                            27
                                                                         Genevieve Fenster
                            28

                                                                    PROOF OF SERVICE
                          Case 2:18-cv-06171-JFW-JEM Document 23 Filed 03/12/19 Page 6 of 6 Page ID #:133


                                                               SERVICE LIST
                             1
                             2
                                 Alyson J. Dykes, Esq.              T: (866) 329-4217, Ext. 1007
                             3   The Law Offices of Jeffrey         F: (657) 246-1312
                             4   Lohman, P.C.                       AlysonD@jlohman.com
                                 4740 Green River Road, Suite 219
                             5   Corona, CA 92880                   Attorneys for Plaintiff, Consuelo Haggar
                             6
                             7
                             8
                             9
                            10
                            11
D OLL A MIR & E LEY LLP




                            12
                            13
                            14
                            15
                            16
                            17
                            18
                            19
                            20
                            21
                            22
                            23
                            24
                            25
                            26
                            27
                            28

                                                                PROOF OF SERVICE
